Case 2:12-cr-20218-SFC-MKM
               Case: 14-1572 ECF
                             Document:
                                 No. 46769 filed
                                               Filed:
                                                 07/27/18
                                                      07/27/2018
                                                             PageID.3986
                                                                   Page: 1 Page 1 of 3




                     Supreme Court of the United States
                            Office of the Clerk
                        Washington, DC 20543-0001
                                                                        Scott S. Harris
                                                                        Clerk of the Court
                                                                        (202) 479-3011

                                         July 24, 2018

                                                                                 FILED
 Clerk                                                                      Jul 27, 2018
 United States Court of Appeals                                        DEBORAH S. HUNT, Clerk
  for the Sixth Circuit
 Potter Stewart U. S. Courthouse
 100 East Fifth Street
 Cincinnati, Ohio 45202

        Re: Timothy Ivory Carpenter
            v. United States,
            No. 16-402 (Your docket No. 14-1572)

 Dear Clerk:

        Attached please find a certified copy of the judgment of this Court in the
 above-entitled case.


                                                          Sincerely,

                                                          SCOTT S. HARRIS, Clerk

                                                          By

                                                          Herve’ Bocage
                                                          Judgments/Mandates Clerk


 Enc.
 cc:    All counsel of record
Case 2:12-cr-20218-SFC-MKM
               Case: 14-1572 ECF
                             Document:
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                                                 07/27/18
                                                      07/27/2018
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                                                                   Page: 2 Page 2 of 3




                      Supreme Court of the United States
                             Office of the Clerk
                         Washington, DC 20543-0001
                                                                       Scott S. Harris
                                                                       Clerk of the Court
                                                                       (202) 479-3011

                                         July 24, 2018


 Mr. Harold Gurewitz, Esq.
 Gurewitz and Raben, PLC
 333 West Fort Street, Suite 1400
 Detroit, Michigan 48226

 Dear Mr. Gurewitz:

        Attached please find a certified copy of the judgment of this Court in the
 above-entitled case.

                                                          Sincerely,

                                                          SCOTT S. HARRIS, Clerk

                                                          By

                                                          Herve’ Bocage
                                                          Judgments/Mandates Clerk




 Enc.
 cc:    All counsel of record
        Clerk, USCA for the Sixth Circuit
              (Your docket No. 14-1572)
Case 2:12-cr-20218-SFC-MKM
               Case: 14-1572 ECF
                             Document:
                                 No. 46769 filed
                                               Filed:
                                                 07/27/18
                                                      07/27/2018
                                                             PageID.3988
                                                                   Page: 3 Page 3 of 3




                         Supreme Court of the United States
                                         No. 16-402


                             TIMOTHY IVORY CARPENTER,

                                                                               Petitioner
                                              v.

                                     UNITED STATES

               ON WRIT OF CERTIORARI to the United States Court of Appeals for

 the Sixth Circuit.

               THIS CAUSE came on to be heard on the transcript of the record from

 the above court and was argued by counsel.

               ON CONSIDERATION WHEREOF, it is ordered and adjudged by this

 Court that the judgment of the above court is reversed, and the case is remanded to

 the United States Court of Appeals for the Sixth Circuit for further proceedings consistent

 with the opinion of this Court.

               .


                                        June 22, 2018
